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 2                                                         Chief Judge Ricardo S. Martinez
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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9
      UNITED STATES OF AMERICA,                   NO. CR18-217-RSM
10
                                 Plaintiff,
11                                                ORDER GRANTING UNITED STATES’
                       v.                         MOTION FOR LEAVE TO FILE SURREPLY
12
                                                  IN OPPOSITION TO DEFENDANTS
      BRADLEY WOOLARD, and
13                                                WOOLARD AND ISHAM’S MOTIONS TO
      JEROME ISHAM                                DISMISS FOR OUTRAGEOUS
14
                                 Defendants.      GOVERNMENT CONDUCT (DKT. 420 &
15                                                431)
16
17
18          The Court, having reviewed the United States’ Motion for Leave to File a Surreply in
19 Opposition to Defendants Woolard and Isham’s Motion to Dismiss for Outrageous
20 Government Conduct (Dkts. 420 & 431) (the “Motions to Dismiss”), enters the following
21 Order:
22          IT IS HEREBY ORDERED that leave is GRANTED. The United States may file a
23 surreply to defendants Woolard and Isham’s Motions to Dismiss (Dkts. 420 & 431).
24          DATED this 18th day of September, 2020.
25
26
27                                             A
                                               RICARDO S. MARTINEZ
28                                             CHIEF UNITED STATES DISTRICT JUDGE

     ORDER GRANTING UNITED STATES’ MOTION FOR LEAVE TO FILE                 UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     SURREPLY IN OPPOSITION TO DEFENDANTS WOOLARD AND ISHAM’S              SEATTLE, WASHINGTON 98101-1271
     MOTIONS TO DISMISS FOR OUTRAGEOUS CONDUCT (DKTS. 420 & 431) - 1                (206) 553-7970
     U.S. v. Bradley Woolard, et al.; CR18-217-RSM
            Case 2:18-cr-00217-RSM Document 602 Filed 09/18/20 Page 2 of 2




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 2 Presented by:
 3
   s/ Michael Lang
 4 MICHAEL LANG
 5 Assistant United States Attorney
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     ORDER GRANTING UNITED STATES’ MOTION FOR LEAVE TO FILE             UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     SURREPLY IN OPPOSITION TO DEFENDANTS WOOLARD AND ISHAM’S          SEATTLE, WASHINGTON 98101-1271
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     U.S. v. Bradley Woolard, et al.; CR18-217-RSM
